       CaseCase: 20-15406, 03/31/2020,Document
            2:11-cv-00884-JCM-VCF      ID: 11647039,
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                       UNITED STATES COURT OF APPEALS                         FILED
                              FOR THE NINTH CIRCUIT                           MAR 31 2020
                                                                          MOLLY C. DWYER, CLERK
                                                                            U.S. COURT OF APPEALS
MICHAEL T. McLAUGHLIN,                              No.    20-15406

                   Petitioner-Appellant,            D.C. No.
                                                    2:11-cv-00884-JCM-VCF
  v.                                                District of Nevada,
                                                    Las Vegas
BRIAN E. WILLIAMS; ATTORNEY
GENERAL FOR THE STATE OF                            ORDER
NEVADA,

                   Respondents-Appellees.

Before: TASHIMA, FRIEDLAND, and MILLER, Circuit Judges.

         A review of the record demonstrates that this court lacks jurisdiction over

this appeal because the order challenged in the appeal is not final or appealable.

See 28 U.S.C. § 1291; In re San Vicente Med. Partners Ltd., 865 F.2d 1128, 1131

(9th Cir. 1989) (order) (magistrate judge order not final or appealable).

Consequently, this appeal is dismissed for lack of jurisdiction.

         Appellant’s request for judicial notice, filed in the district court on the same

date as the notice of appeal, complains of the district court’s delay in deciding his

pending petition for writ of habeas corpus. Appellant has not filed a petition for

writ of mandamus in this court. If appellant wishes to seek relief by way of a

petition for writ of mandamus, he must file the petition as an original action in this

court.

MF/Pro Se
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       The Clerk shall serve this order on the district judge.

       DISMISSED.




MF/Pro Se                                  2
